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                       Exhibit 4
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                   Attachment A
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                                                                   John S. Irving
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                                               July 29, 2022

Gary M. Stern, Esq.
General Counsel
National Archives and Records Administration
8601 Adelphi Road
College Park, Maryland 20740-6001
Via Email: garym.stern@nara.gov

       Re:     Peter K. Navarro

Dear Mr. Stern:

As discussed on Monday, July 25, we have been actively working to identify records within Mr.
Navarro’s possession, custody, and/or control that are potentially responsive to NARA’s request.
As you know, this effort has already involved a substantial investment of time and resources.
Specifically, we have now completed the process of creating a forensic image of Mr. Navarro’s
cell phones and have also completed an extraction of records from Mr. Navarro’s personal
Protonmail account, all of which we will continue to preserve consistent with our ethical
obligations.

During this process, the occurrence of several events causes us to question whether Mr. Navarro’s
procedural due process rights may be at risk of infringement. As you are aware, Mr. Navarro was
first contacted by NARA on or about December 16, 2021, concerning your belief that Mr. Navarro
may be in possession, custody, or control of records the subject of the Presidential Records Act,
44 U.S.C. § 2201 et seq.

In the meantime, as you are no doubt aware, Mr. Navarro has now been indicted for allegedly
having failed to comply with a subpoena issued by the U.S. House Select Committee to Investigate
the January 6th Attack on the United States Capitol. Mr. Navarro’s response to that subpoena was
informed by his interaction with the U.S. House Select Subcommittee on the Coronavirus Crisis,
which apparently accepted Mr. Navarro’s assertion of executive privilege in that he received no
response to his last correspondence with the Subcommittee on December 14, 2021, in which he
advised he could not comply with the subpoena due to his obligation to invoke executive privilege.

Several circumstances appear unlikely to be coincidental and give us concern about coordination
between various government investigations and the protection of Mr. Navarro’s constitutional
rights. To start, NARA’s initial letter to Mr. Navarro on December 16, 2021, came just one day
after the return date for the Coronavirus Select Subcommittee’s subpoena for records. We now
believe NARA’s initial request was precipitated by that Select Subcommittee. Then, on June 1,
2022, just one day prior to the return of the Department’s indictment and after more than six
months of inaction, Mr. Navarro received correspondence from Elizabeth Shapiro, Deputy

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Director of DOJ’s Civil Division Federal Programs Branch, informing him of the Department’s
intent to file suit “for the recovery of wrongfully withheld documents.”

Thereafter, on June 26, 2022, Mr. Navarro, though counsel, wrote the Department to request all
discoverable materials in his criminal action pursuant to Rule 16 of the Federal Rules of Criminal
Procedure and Brady v. Maryland, 373 U.S. 83 (1963), and its progeny. Among other things, Mr.
Navarro requested any communications as between the Department and the Coronavirus Select
Subcommittee advising that all such communications were both exculpatory and material to Mr.
Navarro’s defense in that they support his understanding that executive privilege precluded his
compliance with the subpoenas of both the Coronavirus Select Subcommittee and the January 6th
Select Committee. Then, later that day, the Coronavirus Select Subcommittee renewed its demand
that Mr. Navarro comply with its subpoena – the first contact that Mr. Navarro (or his counsel)
had had with the Subcommittee since a letter Mr. Navarro sent to the Subcommittee on December
14, 2021. Further exacerbating our concerns is the fact that the Coronavirus Subcommittee’s
request was that Mr. Navarro comply with NARA’s request that Mr. Navarro provide any records
in his possession, custody, or control covered by the PRA. In combination, any suggestion that
this series of events is merely coincidental defies reason.

Put simply, we are concerned that the government is using the Presidential Records Act as a
discovery tool, not only with respect to Mr. Navarro’s ongoing criminal case, but with respect to
broader investigations being conducted by both Congress and the Executive Branch. While we
acknowledge Mr. Navarro’s obligations under the Presidential Records Act we also must
acknowledge the conflict as between the Act and his rights under the Constitution, including the
Fifth Amendment.

As you may be aware, the Supreme Court has recognized that the act of producing materials in
response to a subpoena or other request implicates an individual’s privilege against being
compelled to incriminate themselves through testimony. See Fisher v. United States, 425 U.S.
391, 410-11 (1976). The so-called “act of production privilege” thus precludes the government
from compelling the production of records which, by implication both acknowledges “the
existence of the papers demanded and their possession or control.” Id. Moreover, Mr. Navarro is
not a custodian of any responsive records such that his production of the same could not be used
against him in a criminal proceeding. See United States v. Dean, 989 F.2d 1205, 1208-11 (D.C.
1993).

Accordingly, in advance of any production of materials responsive to your request, we ask that the
Department of Justice provide Mr. Navarro with act-of-production immunity with respect to any
such production. We reiterate our willingness to work with you to ensure Mr. Navarro’s
compliance with the Presidential Records Act, and we appreciate your prior assistance in providing
search parameters to better target relevant information. We also against confirm that we have
forensically preserved Mr. Navarro’s records, and they will be available for production when we
receive assurances from the government that any such production does not infringe on his
fundamental Constitutional procedural rights.




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                                              Very truly yours,

                                              E&W Law


                                              By:      /s/ John S. Irving
                                                    John S. Irving


cc:

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